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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3001
          v.                        )
                                    )
ROBERT ALLEN CONEY,                 )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     The pretrial services officer shall investigate the
defendant’s second amended proposal for release and report to the
court and counsel as soon as practicable.

     DATED this 19th day of May, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
